Case:18-14487-KHT Doc#:25-2 Filed:08/06/18           Entered:08/06/18 13:26:35 Page1 of 1
  


                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF COLORADO

 In Re:                                    )
                                           )
 DERRICK J. MARTIN, JR.                    )       Case No. 18-14487-KHT
 SSN: XX-XXX-1032                          )
                                           )       Chapter 7
 Debtor.                                   )

                   ORDER AUTHORIZING RULE 2004 EXAMINATION
                              OF KELLI BUFORD

          Upon consideration of the Ex Parte Motion for Order Authorizing Rule 2004
 Examination of Kelli Buford, filed by David V. Wadsworth, Chapter 7 trustee (the "Motion"),
 the Court having considered the Motion and good cause being shown therefore,
          IT IS HEREBY ORDERED THAT:
          1.    The Motion is GRANTED.
          2.    Movant may compel the production of documents from Kelli Buford pursuant to
 Fed.R.Bankr. 2004(c).


 Dated: __________________________                 BY THE COURT:


                                                   __________________________________
                                                   The Hon. Kimberley H. Tyson
                                                   United States Bankruptcy Court Judge
  




                                                                                  DN 3167329.1


  
